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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT TACOMA

 9    UNITED STATES OF AMERICA,
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                     Plaintiff,
                                                                Case No. CR05-5828FDB
11           v.
                                                                ORDER EXCLUDING DEFENSE
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      KEVIN TUBBS, JOSEPH DIBEE,                                EXPERT WEDICK ON
      JOSEPHINE S. OVERAKER, JUSTIN                             INSUFFICIENT OFFER OF PROOF
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      SOLONDZ, and BRIANA WATERS,
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                     Defendants.
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            The Government had moved to exclude the testimony of Defendant’s Proposed Expert James
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     Wedick (retired FBI Special Agent), and the motion was addressed at the Pretrial Conference.
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     Defendant Waters asked for the opportunity to submit an offer of proof in response to the Court’s
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     concerns about the testimony.
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            Defendant Waters has now presented an offer of proof concerning the testimony of James
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     Wedick, whose testimony would relate to the quality of particular aspects of the investigative work
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     in this case. Defendant asserts that this testimony would assist the jurors who have no knowledge as
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     to FBI regulations, rules, or procedures.
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            Defendant Waters’ Offer of Proof fails to address the Court’s concerns or to meet the
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     requirements of FRE 702. For example, the proffer does not demonstrate the issue or issues that
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26   ORDER - 1
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 1   Wedick would address; what FBI rules, regulations, or procedures he relies on; or what opinion he

 2   has as a result of applying the subject rules, regulations, or procedures to the facts. All the proffer

 3   communicates are the general conclusions that “the agents in this case failed to follow standard and

 4   clearly established FBI procedures, that their actions violated FBI regulations, and that their work

 5   was sloppy and careless.” Because of this lack of specificity, the offer of proof is insufficient and the

 6   Court will preclude James Wedick’s testimony at this time.

 7          NOW, THEREFORE, IT IS ORDERED: Government’s Motion in Limine to Exclude

 8   Proposed Defense Expert James Wedick is GRANTED.

 9          DATED this 6th day of February, 2008.

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                                            A
                                            FRANKLIN D. BURGESS
                                            UNITED STATES DISTRICT JUDGE
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26   ORDER - 2
